         Case 1:21-cr-00729-RBW Document 35 Filed 06/13/22 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
               v.                            :
                                             :       Crim. No. 1:21-CR-729-RBW
BRENT JOHN HOLDRIDGE,                        :
                                             :
               Defendant.                    :


                                 NOTICE OF APPEARANCE

       The United States, by and through its attorney, the United States Attorney for the District

of Columbia, hereby informs the Court that Assistant United States Attorney Stephen J. Rancourt

is entering his appearance in the above-captioned matter as counsel for the United States.


                                             Respectfully submitted,



                                             MATTHEW M. GRAVES
                                             UNITED STATES ATTORNEY
                                             D.C. Bar No. 481052

DATED: June 13, 2022                 By:     _________________________________
                                             STEPHEN J. RANCOURT
                                             Assistant United States Attorney
                                             Detailee
                                             Texas Bar No. 24079181
                                             United States Attorney’s Office
                                             District of Columbia
                                             (806) 472-7398
                                             stephen.rancourt@usdoj.gov
         Case 1:21-cr-00729-RBW Document 35 Filed 06/13/22 Page 2 of 2




                               CERTIFICATE OF SERVICE

       On this 13th day of June 2022, a copy of the foregoing was served upon all parties listed
on the Electronic Case Filing (ECF) System.


                                                   _________________________________
                                                   STEPHEN J. RANCOURT
                                                   Assistant United States Attorney
